Case 5:17-cv-00001-JRG-CMC Document 55 Filed 05/19/17 Page 1 of 3 PageID #: 315



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

  PACKET TREAD LLC,

                   Plaintiff,
                                                        No. 5:17-cv-1-JRG-CMC
         v.                                             LEAD CASE

  CHELTON, INC. DBA COBHAM ANTENNA
  SYSTEMS,

                   Defendant

  PACKET TREAD LLC,

                 Plaintiff,
                                                        No. 5:17-cv-15-JRG-CMC
         v.                                             CONSOLIDATED CASE

  PATTON ELECTRONICS CO.,

                 Defendant.


    JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

        Plaintiff Packet Tread LLC and Defendant Patton Electronics Company file this joint

 motion to stay all deadlines and provide notice of settlement. All matters in controversy between

 the parties have been settled, in principle. The parties request that this Court stay for thirty (30)

 days all unreached deadlines so that they may finalize their settlement agreement and file the

 appropriate dismissal papers. A proposed order is attached.
Case 5:17-cv-00001-JRG-CMC Document 55 Filed 05/19/17 Page 2 of 3 PageID #: 316



        Dated: May 19, 2017                 Respectfully submitted

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                                        2
Case 5:17-cv-00001-JRG-CMC Document 55 Filed 05/19/17 Page 3 of 3 PageID #: 317



                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system and local rules on May 19, 2017.


                                                 /s/ Peter J. Corcoran, III
                                                 Peter J. Corcoran, III
